er 3:20-cv-01526-L DAFRIG| NA ps/26/20 Page 1 of 4 nage

UNITED STATES DISTRICT COURT °°

 

for the ae ead
NORTHERN DISTRICT OF TEXAS 2°.° 60525 POM
DALLAS DIVISION \—
TASIA WILLIAMS AND VINCENT DOYLE § ere es —
§
§
Plaintiff(s), §
v. § Civil Action No. 3:20-cv-01526-L
§
CITY OF DALLAS, TEXAS; ET AL :
Defendant(s). §
RETURN OF SERVICE

 

Came to my hand on Thursday, June 11, 2020 at 3:09 PM,

Executed at: 1500 MARILLA ST, 7DN, DALLAS, TX 75201

| within the county of DALLAS at 10:41 AM, on Thursday, June 18, 2020,
by delivering to the within named:

ULYSHA RENEE HALL, CHIEF OF POLICE, DALLAS POLICE DEPARTMENT

By individually and personally delivering to its
Authorized Representative, MIRASLAVA MARTINEZ
a true copy of this

SUMMONS IN A CIVIL ACTION, PLAINTIFF'S ORIGINAL COMPLAINT & JURY
DEMAND, CIVIL COVER SHEET, CERTIFICATE OF INTERESTED PERSONS, ORDER ON
PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER,
PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION FOR TEMPORARY RESTRAINING
ORDER PLAINTIFFS’ APPENDIX TO MOTION FOR TEMPORARY RESTRAINING
ORDER & BRIEF IN SUPPORT THEREOF WITH TABS 1-26, AND PLAINTIFFS’ MOTION
FOR TEMPORARY RESTRAINING ORDER

having first endorsed thereon the date of the delivery.

BEFORE ME, the undersigned authority, on this day personally appeared Adil Tadli who after being duly sworn on oath
states: "My name is Adil Tadli. I am a person not less than eighteen (18) years of age and I am competent to make this
oath. I am a resident of the State of Texas. I have personal knowledge of the facts and statements contained herein and
aver that each is true and correct. I am not a party to nor related or affiliated with any party to this suit. I have no interest

in the outcome of the suit. I have never been convicted of a felony or of a misdemeanor involving moral turpitude.”

By: A

Adil Tadli - PSC 120¢- Ep 67/15/20
 

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Subscribed and Sworn to by Adil Tadli, Before Me, the undersigned authority, on this ASE day

of June, 2020.

Notary Public in and for the State of Texas

 

STATE OF TEXAS
ID#12516820-9
_ Exp. April 13, 2021

 
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AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Northern District of Texas

Williams et al
Plaintiff

Vv.

 

Civil Action No. 3:20-cv-01526-L

City of Dallas et al

Defendant

 

Summons in a Civil Action

TO: Ulysha Renee Hall, Chief of Police, Dallas Police Department. In her individual capacity

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff's attorney, whose name and address are:

Michelle Tuegel

3301 Elm Street
Dallas , TX 75226

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

  

 

DATE: 06/11/2020

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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

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Civil Action No. 3:20-cv-01526-L

This summons for (name of individual and title, if any)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (i)

 

was received by me on (date)

Date:

| I personally served the summons on the individual at (place)

 

4 on (date) ; or
we a*
*
[~ 1 left the summons at the individual's resideng Oris lace of abode with (name)

, a person of suitable age and discretion who resides there,

 

 

 

 

on (date) wt? NS , and mailed a copy to the individual's last known address; or
a
[- Iserved the summons on (name of individual) , who is designated

 

by law to accept service of process on behalf of (name of organization)

 

 

 

 

 

 

on (date) 5 or
[— I returned the summons unexecuted because ; or
[other (specify)
a*
My fees are $ for travel and $ for services, for a total of $

ae

I declare under penalty of perjury that this in rue.
gg
at gS

aes

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
